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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


DAWLIN CABRERA,                         )
                                        )
             Petitioner,                )
                                        )
      v.                                )      1:11-cr-00205-JAW-4
                                        )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
             Respondent.                )


           ORDER AFFIRMING THE RECOMMENDED DECISION
                    OF THE MAGISTRATE JUDGE

      On June 27, 2016, Dawlin Cabrera filed a motion to vacate his sentence

pursuant to 28 U.S.C. § 2255. Mot. for Reduction in Sentence per Auth. Of 28 U.S.C.

[§] 2255, 2255(f)(3), and FR Crim P. 45(b)(1)(B) (ECF No. 898). On June 30, 2016,

the Magistrate Judge issued a recommended decision in which he concluded that Mr.

Cabrera’s petition was a second or successive petition and recommended that the

Court transfer it to the Court of Appeals for the First Circuit for further disposition.

Recommended Decision (ECF No. 900). On July 15, 2016, Mr. Cabrera objected to the

Magistrate Judge’s recommended decision. (ECF No. 901).

      Having performed a de novo review of the petition, the recommended decision

and Mr. Cabrera’s objection pursuant to 28 U.S.C. § 636(b)(1)(B) and having made a

de novo determination, the Court overrules Mr. Cabrera’s objection to the

recommended decision and AFFIRMS the Recommended Decision of the Magistrate

Judge (ECF No. 900). The Court ORDERS (1) that the pending § 2255 petition be
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transferred to the Court of Appeals for the First Circuit pursuant to 28 U.S.C. § 1631

and First Circuit Rule 22.1(e). The Court further recommends that the Court of

Appeals DENY a certificate of appealability pursuant to Rule 11 of the Rules

Governing Section 2255 Cases because there is no substantial showing of the denial

of a constitutional right within the meaning of 28 U.S.C. § 2253(c)(2).

      SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 UNITED STATES DISTRICT JUDGE

Dated this 14th day of September, 2016




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